 Case 17-13328        Doc 397    Filed 04/26/22 Entered 04/26/22 16:39:50           Desc Main
                                  Document     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION


In re:

RMA STRATEGIC OPPORTUNITY                             CHAPTER 7
FUND, LLC,
               Debtor                                 CASE NO. 17-13328-FJB



                                       STATUS REPORT

         Mark G. DeGiacomo, duly appointed Chapter 7 trustee of the above captioned

bankruptcy estate (the “Trustee”) hereby submits this Status Report concerning his objections to

Claim No. 57 of Ryan Montoya and Claim No. 59 of Ross Montoya (together the “Claim

Objections”) as required by this Court’s Order dated February 28, 2022 [Docket No. 384].

         As previously reported, the Trustee has reach agreement to resolve the Claim Objections

as part of a settlement of adversary proceeding No. 18-01019 (the “Adversary Proceeding”),

which remains subject to Court approval. The Trustee’s filing of a motion to approve the

Adversary Proceeding settlement has been delayed because the Trustee must first obtain certain

executed and notarized documents from Raymond Montoya, Sr. (“Montoya”), who is

incarcerated. As reported in the Adversary Proceeding [Case No. 18-01019, Docket No. 175],

Mr. Montoya’s facility is now reopened to visitors and the parties are in the process of arranging

for a notary to visit and witness Mr. Montoya’s signature. As a result, the Trustee respectfully

requests that he be given an additional ninety (90) days to either file a settlement motion to

resolve the Claim Objections or further status report with the Court.




                                                1
12161827v1
 Case 17-13328      Doc 397   Filed 04/26/22 Entered 04/26/22 16:39:50   Desc Main
                               Document     Page 2 of 2



                                       Respectfully submitted,


                                       MARK G. DEGIACOMO, CHAPTER 7
                                       TRUSTEE OF THE ESTATE OF
                                       RMA STRATEGIC OPPORTUNITY
                                       FUND, LLC

                                              /s/ Jonathan M. Horne
                                       Mark G. DeGiacomo, Esq. BBO #118170
                                       Jonathan M. Horne, Esq. BBO #673098
                                       Murtha Cullina LLP
                                       99 High Street
                                       Boston, MA 02110
                                       617-457-4000 Telephone
                                       617-482-3868 Facsimile
                                       mdegiacomo@murthalaw.com
Dated: April 26, 2022            jhorne@murthalaw.com




                                          2
12161827v1
